     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 1 of 33




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA                    :
                                            :
v.                                          :     CIVIL ACTION NO.
                                            :     2:13-CR-0015-RWS-JCF
LARRY MCDANIEL, HOWARD                      :
BROWN, and SEAN KING                        :

        ORDER and FINAL REPORT AND RECOMMENDATION

      This case is before the Court on the motions to dismiss the Indictment filed

by Defendants Sean King (Doc. 18), Larry McDaniel (Doc. 21), and Howard

Brown (Doc. 30), and Defendant King’s objection to the Court’s June 28, 2013

briefing schedule, construed as a motion for reconsideration (Doc. 31). Defendant

King’s motion for reconsideration is DENIED. Because an investigation by the

Federal Bureau of Investigation (“FBI”) is not an “official proceeding” for

purposes of 18 U.S.C. § 1512(c)(2), it is RECOMMENDED that Defendants’

motions to dismiss Count Two be GRANTED and that their motions to dismiss

Count One be GRANTED in part. For the reasons discussed below, it is further

RECOMMENDED that Defendants’ motions to dismiss Count Three alleging

obstruction of a federal grand jury investigation be DENIED, and their motions to

dismiss Count One be DENIED in part.




                                        1
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 2 of 33




                                  Procedural History

      Count One of an Indictment filed September 4, 2012 in United States v.

McDaniel, et al., 2:12-CR-28-RWS-JCF (“McDaniel I”) charged Defendants

McDaniel, Brown, and King with obstructing and impeding “the due and proper

administration of the law under which a proceeding was pending before the

Federal Bureau of Investigation, an agency of the United States,” by influencing,

obstructing, and impeding, and attempting to influence, obstruct, and impede, “an

investigation being conducted by Special Agents of the Federal Bureau of

Investigation in which D.B.S. was acting as a confidential informant,” in violation

of 18 U.S.C. § 1505 and 18 U.S.C. § 2 (aiding and abetting statute). (Doc. 39 in

McDaniel I). The Court granted Defendants’ motions to dismiss that charge, on

the grounds that an FBI investigation is not a “pending proceeding” under 18

U.S.C. § 1505. (See Docs. 110, 133 in McDaniel I).1 In an Indictment filed on

April 24, 2013 in this case (Doc. 1), Defendants are charged in Count One as

follows:

             1.     Beginning in or about June 2012, and continuing until on
      or about August 16, 2012, in the Northern District of Georgia, the
      defendants, LARRY MCDANIEL, a/k/a “Larry Mack,” HOWARD
      BROWN, and SEAN KING, did knowingly and intentionally
      combine, conspire, confederate, agree, and have a tacit understanding
      with each other, to commit offenses against the United States, that is,
      (1) to violate Title 18, United States Code, Section 1512(c)(2), in that

1
 The Indictment in McDaniel I also charged Defendant McDaniel with possession
of a firearm by a convicted felon, and that Count remains pending.
                                         2
Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 3 of 33




 the defendants would corruptedly [sic] obstruct, influence, and impede
 an official proceeding, to wit: an investigation being conducted by the
 Federal Bureau of Investigation (FBI) in which D.B.S. was acting as
 an undercover informant for the FBI and Michael Griffin, a/k/a
 “Griff,” a law enforcement officer, was acting in an undercover
 capacity, and (2) to violate Title 18, United States Code, Section
 1512(c)(2), in that the defendants would corruptedly [sic] obstruct,
 influence, and impede an official proceeding, to wit: a federal grand
 jury investigation into criminal offenses investigated by the FBI, said
 FBI investigation involving D.B.S. acting as an undercover informant
 and Michael Griffin, a/k/a “Griff,” a law enforcement officer, acting
 in an undercover capacity.
        2.     In furtherance of the conspiracy, and to effect the objects
 and purposes thereof, one or more of the following overt acts were
 committed:
        (a) In about June 2012, an unknown co-conspirator advised
 defendant LARRY MCDANIEL that D.B.S., a member of the
 Cleveland Chapter of the Black Pistons Motorcycle Club was a “fed”
 or federal agent.
        (b) On or about July 19, 2012, defendant McDaniel directed
 Defendants BROWN and KING, and others not named as defendants
 herein, to travel to the Black Pistons Motorcycle Club clubhouse in
 Cleveland, Georgia.
        (c) On or about July 19, 2012, defendant McDaniel directed
 defendants BROWN and KING, and others not named as defendants
 herein, to “shutdown” the clubhouse and collect all Black Pistons and
 Outlaw Motorcycle Club vests, known as “cuts,” patches, belts, rings,
 t-shirts, and other paraphernalia identified with the Black Pistons and
 Outlaw Motorcycle Clubs from those present at the clubhouse.
        (d) On or about July 19, 2012, defendants BROWN and
 KING, and others not named as defendants traveled to the Black
 Pistons Motorcycle Club clubhouse in Cleveland, Georgia.
        (e) On or about July 19, 2012, defendants BROWN and
 KING, and others not named as defendants herein, closed the Black
 Pistons clubhouse and collected all Black Pistons and Outlaw
 Motorcycle Club vests, known as “cuts,” patches, belts, rings, t-shirts,
 and other paraphernalia identified with the Black Pistons and Outlaw
 Motorcycle Clubs.
        All in violation of Title 18, United States Code, Section 371.


                                    3
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 4 of 33




(Doc. 1).

      Count Two charges Defendants with violating 18 U.S.C. § 1512(c)(2) on or

about July 19, 2012 by “corruptedly [sic] obstruct[ing], influenc[ing], and

imped[ing], and [ ] attempt[ing] to corruptedly [sic] obstruct, influence, and

impede, an official proceeding, to wit: an investigation being conducted by the

[FBI] in which D.B.S. was acting as an undercover informant for the FBI and

Michael Griffin, a/k/a “Griff,” a law enforcement officer, was acting in an

undercover capacity.” (Id.). Count Three charges Defendants with violating 18

U.S.C. § 1512(c)(2) on or about July 19, 2012 by “corruptedly [sic] obstruct[ing],

influenc[ing], and imped[ing], and [ ] attempt[ing] to corruptedly [sic] obstruct,

influence, and impede, an official proceeding, to wit: a federal grand jury

investigation into criminal offenses investigated by the FBI, said FBI investigation

involving D.B.S. acting as an undercover informant and Michael Griffin, a/k/a

“Griff,” a law enforcement officer, acting in an undercover capacity.” (Id.).

      On May 31, 2013, Defendant King filed a motion to dismiss the indictment.

(Doc. 18). Defendant McDaniel adopted that motion (Doc. 21) and also filed a

supplemental brief in support (Doc. 20). On June 10, 2013, the Court entered an

Order canceling a pretrial conference scheduled for June 18, 2013, and directing

the Government to file a response to Defendants’ motions to dismiss within 14

days of the date of entry of that Order. (See Doc. 22). On June 14, 2013,


                                         4
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 5 of 33




Defendant Brown appeared for his initial appearance and arraignment (see Doc.

23), and then on June 28, 2013, he adopted Defendant King’s motion to dismiss

(Doc. 30) and also filed a supplemental brief in support of his motion (Doc. 28).

By Order signed on June 28, 2013 and entered July 1, 2013 (Doc. 29), the Court

canceled Defendant Brown’s pretrial conference scheduled for July 1, 2013 and

directed the Government to file a response to Defendants’ pending motions to

dismiss within 21 days of the date of entry of that Order and gave Defendants 14

days thereafter to file a reply.

      Defendant King then filed objections to the Court’s briefing schedule set

forth in the June 28, 2013 Order, construed as a motion for reconsideration of that

Order. (Doc. 31). Defendant King points out that, pursuant to the Court’s June 10,

2013 Order (Doc. 22), the Government’s responses to his and McDaniel’s motions

to dismiss were due no later than June 24, 2013, but the Government failed to file

its response by that date, or seek an extension of time to do so. (Id. at 2).

Defendant objects to the fact that he “was not given any notice or the opportunity

to be heard on whether he objected to an additional extension for the Government,

after the original deadline had passed.” (Id. at 4).

      The Government filed a response to Defendants’ motion to dismiss on July

22, 2013 (Doc. 33), and a response to Defendant King’s motion for reconsideration

(Doc. 35). Defendant King filed a reply in support of his motion to dismiss (Doc.


                                           5
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 6 of 33




36) and a reply in support of his motion for reconsideration (Doc. 37). On August

16, 2013, Defendant King filed a supplemental reply brief in support of his motion

to dismiss “to update the Court on new precedent that bears on the motion to

dismiss,” in particular the Ninth Circuit’s decision in United States v. Ermoian,

decided August 14, 2013, in which the court held that an FBI investigation is not

an “official proceeding” under 18 U.S.C. § 1512(c)(2). (Doc. 38). The Court

directed the Government to file a supplemental brief to address that authority, and

gave Defendants the opportunity to file a reply to the Government’s response. (See

Doc. 39). The Government filed its supplemental brief on August 26, 2013 (Doc.

40), and Defendant King filed a supplemental reply on August 30, 2013 (Doc. 43).

      Briefing is complete, and the undersigned now considers the merits of

Defendants’ motions.

                                        Discussion

I.    Defendant King’s Motion For Reconsideration (Doc. 31)

      Defendant King objects to the Court’s sua sponte extension of time for the

Government to file its response to Defendant’s motion to dismiss, as set forth in its

June 28, 2013 Order (Doc. 29). Defendant contends that, because the Government

failed to file its response by June 24, 2010 as required by the Court’s June 10, 2013

Order (Doc. 22) or request an extension of time, and has not shown good cause for

its failure, the Government has waived its objections to Defendant’s motion


                                         6
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 7 of 33




pursuant to FED. R. CRIM. P. 12(e).        (See Doc. 31 at 1-4; Doc. 37 at 1-6).

Defendant also points out that this Court’s Local Rules provide that a failure to file

a response to a motion indicates a lack of opposition to the motion. (Doc. 31 at 3;

see also LCrR 12.1B, NDGa. ).2

      The Government asserts in response that it anticipated (correctly) that

Defendant Brown would also file a motion to dismiss, and the Government’s

counsel “assumed that a briefing schedule for all three defendant’s motions to

dismiss the indictment would be set once defendant Brown filed his motions.”

(See Doc. 35 at 4). Further, counsel mistakenly overlooked the Court’s directive to

file the Government’s response by June 24, 2013 due to counsel’s preparation for

four scheduled trials. (Id.). The Government points out that the Court “has

considerable discretion in setting due dates for motions and responses to motions,”

and asserts that “[t]his is an appropriate case for the Court to exercise its discretion

[to] allow the Government sufficient time to file one response to all three

motions.” (Id. at 7-8).

      The Court finds that it properly exercised its discretion to set a new briefing

schedule upon the filing of Defendant Brown’s motion to dismiss in spite of the

Government’s failure to file a response to Defendant King’s and Defendant


2
  LCrR 12.1B provides, “A party’s failure to file a response to a motion within
fourteen (14) days after being directed by the court to do so shall indicate that the
responding party has no opposition to the motion.”
                                           7
       Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 8 of 33




McDaniel’s motions by June 24, 2013.3 As the Government points out, even if the

Government had timely filed responses to Defendant King’s and Defendant

McDaniel’s motions, the Court would not have considered those motions until

after briefing was completed on all three motions, including Defendant Brown’s

later-filed motion to dismiss. Thus, in the interest of preserving the Court’s and

the parties’ resources, it was reasonable to provide an extension of time to allow

the Government to file a consolidated response to Defendants’ motions.

         Defendant’s concern over the Government’s failure to comply with the

Court’s June 10, 2013 Order or to request an extension of time is understandable,

and the Court shares that concern.4 As the Government points out, however, even

if its counsel had taken note of the June 24th response deadline, counsel would

have then requested, and likely been granted, an extension of time in order to file a

3
    FED. R. CRIM. P. 45 provides in relevant part:

         When an act must or may be done within a specified period, the court
         on its own may extend the time, or for good cause may do so on a
         party’s motion made:
                (A) before the originally prescribed or previously extended time
                expires; or
                (B) after the time expires if the party failed to act because of
                excusable neglect.

FED. R. CRIM. P. 45(b)(1).
4
  The Court expects the Government and its counsel to read all Orders and note
deadlines set therein. Further, the Government is cautioned that in the future, it
should seek an extension of time prior to a Court deadline if it cannot meet that
deadline.
                                            8
      Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 9 of 33




consolidated response to all three motions due to counsel’s trial preparation

schedule.5 (Doc. 35 at 8). Moreover, the extension of time for the Government to

respond to Defendant King’s and Defendant McDaniel’s motion was short and

caused Defendants no prejudice. Thus, to refuse to consider the Government’s

response to Defendant King’s motion, while considering it in response to

Defendant McDaniel’s6 and Defendant Brown’s motion, would be to elevate form

over substance. Defendant King has not shown why the Court should reconsider

its modification of the briefing schedule to extend the time for the Government to

file a response to all of the pending motions to dismiss, and therefore, Defendant

King’s motion for reconsideration is DENIED.

II.    Motions To Dismiss Indictment (Docs. 18, 21, 30)

       Defendants argue that the Indictment must be dismissed because it does not

sufficiently allege a crime. Specifically, all Defendants contend that the indictment

fails to allege that they obstructed an “official proceeding” for purposes of 18

U.S.C. § 1512(c)(2), as that term is defined by 18 U.S.C. § 1515, because an FBI


5
  Defendant King “acknowledges that as a matter of professional courtesy had
counsel for the Government asked for a reasonable extension in which to file the
response he would have likely consented to the same,” although “[i]t is unlikely
that the undersigned would have consented to an extension of an additional 21 days
without some reasonable cause.” (Doc. 31 at 3 n.1).
6
  Defendant McDaniel did not object to the Court’s extension of the briefing
schedule or to the Government’s failure to file a response to his motion by June 24,
2013.
                                         9
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 10 of 33




investigation is not an “official proceeding,” and the grand jury investigation rested

on the FBI investigation. Defendants McDaniel and Brown also argue that the

Indictment fails to allege that they engaged in conduct that violates § 1512(c)(2).

(See Docs. 20, 28).

      A.     Applicable Standards

      Federal Rule of Criminal Procedure 7 provides in relevant part:

      The indictment . . . must be a plain, concise, and definite written
      statement of the essential facts constituting the offense charged and
      must be signed by an attorney for the government. It need not contain
      a formal introduction or conclusion. A count may incorporate by
      reference an allegation made in another count. A count may allege
      that the means by which the defendant committed the offense are
      unknown or that the defendant committed it by one or more specified
      means. For each count, the indictment . . . must give the official or
      customary citation of the statute, rule, or regulation, or other provision
      of law that the defendant is alleged to have violated.

FED. R. CRIM. P. 7(c). “[A]t any time while the case is pending, the court may hear

a claim that the indictment . . . fails to invoke the court’s jurisdiction or to state an

offense[.]” FED. R. CRIM. P. 12(b)(3)(B). “In ruling on a motion to dismiss for

failure to state an offense, a district court is limited to reviewing the face of the

indictment and, more specifically, the language used to charge the crimes.” United

States v. Sharpe, 438 F.3d 1257, 1263 (11th Cir. 2006).

      B.     Does The Indictment Charge Obstruction Of An “Official
             Proceeding” Under 18 U.S.C. § 1512?

             1.       Is An FBI Investigation An “Official Proceeding” Under 18
                      U.S.C. § 1512?
                                           10
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 11 of 33




      “In construing a statute, we first look to the plain language of the statute.”

United States v. Veal, 153 F.3d 1233, 1245 (11th Cir. 1998).              “Words are

interpreted with their ordinary and plain meaning because we assume that

Congress uses words in a statute as they are commonly understood; we give each

provision full effect.” Id. “Review of legislative history is unnecessary unless a

statute is inescapably ambiguous.” Id. (quotation omitted). “Therefore, we deem

the plain language of the statute to be conclusive as clearly expressing legislative

intent, unless the resulting application would be ‘absurd’ or ‘internal

inconsistencies’ must be resolved.” Id.

      The statute at issue, 18 U.S.C. § 1512 provides in relevant part:

      Tampering with a witness, victim, or an informant

      ....

      (c) Whoever corruptly--
            (1) alters, destroys, mutilates, or conceals a record, document,
      or other object, or attempts to do so, with the intent to impair the
      object’s integrity or availability for use in an official proceeding; or
            (2) otherwise obstructs, influences, or impedes any official
      proceeding, or attempts to do so,

      shall be fined under this title or imprisoned not more than 20 years, or
      both.

18 U.S.C. § 1512(c). The statute defines “official proceeding” as:

      (A) a proceeding before a judge or court of the United States, a United
      States magistrate [United States magistrate judge], a bankruptcy
      judge, a judge of the United States Tax Court, a special trial judge of
                                          11
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 12 of 33




      the Tax Court, a judge of the United States Claims Court [United
      States Court of Federal Claims], or a Federal grand jury;
      (B) a proceeding before Congress;
      (C) a proceeding before a Federal Government agency which is
      authorized by law; or
      (D) a proceeding involving the business of insurance whose activities
      affect interstate commerce before any insurance regulatory official or
      agency or any agent or examiner appointed by such official or agency
      to examine the affairs of any person engaged in the business of
      insurance whose activities affect interstate commerce.

18 U.S.C. § 1515(a)(1)(A)-(D). An FBI investigation is clearly not a “proceeding”

as contemplated by parts (A), (B), or (D), and therefore, the Court must determine

whether an FBI investigation is “a proceeding before a Federal Government

agency which is authorized by law.” 18 U.S.C. § 1515(a)(1)(C).

      The parties cite, and the undersigned has reviewed, Eleventh Circuit

authority and cases outside this circuit for guidance in determining whether a

federal criminal investigation, such as an FBI investigation, is an “official

proceeding” under § 1512(c)(2). No decision by the Eleventh Circuit Court of

Appeals is directly on point, and the courts that have considered the issue are

divided. The weight of that authority, however, supports a conclusion that such

investigations are not “official proceedings” as defined in 18 U.S.C. § 1515(a)(1).

      First, the undersigned reviews the scarce, but illuminating, authority in the

Eleventh Circuit on this issue. The Government relies chiefly on United States v.

Townsend, 630 F.3d 1003 (11th Cir. 2001) to support its position that a federal

investigation is an “official proceeding” for purposes of 18 U.S.C. § 1512(c)(2).
                                         12
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 13 of 33




(See Doc. 33 at 4-8). In Townsend, the court rejected the defendant’s argument

that the evidence presented to the jury did not support her conviction for

obstruction of justice under 18 U.S.C. § 1512(c)(2). Townsend, 630 F.3d at 1013-

15. The court found that the “instructions to the jury permitted the jury to base a

conviction under this count on Townsend’s warning calls to” her probationer about

impending search warrants as part of a narcotics investigation. Id. at 1014. The

district court instructed the jury:

      Under Count 4 the defendant can be found guilty of that offense [18
      U.S.C. § 1512(c)] only if all the following facts are proved beyond a
      reasonable doubt[:]

                    First, that there was an official proceeding, that is,
             a criminal investigation of federal offenses involving
             Umberto Febles and others[;]
             Second, that the defendant engaged in conduct which
             constituted a substantial step towards the commission of
             the crime of obstruction of an official proceeding[;]
             Third, that the defendant acted corruptly[;]
                    Four that the natural and probable effect of the
             defendant’s conduct would be the interference with the
             due administration of justice.

Id. at 1014-15 n.8 (emphasis added).        The court in Townsend noted that the

defendant “did not object to those instructions when they were given, and she has

not attempted to challenge them before this Court.” Id. at 1015. The court then

found that in light of the evidence presented at trial, “the jury reasonably could

have found beyond a reasonable doubt that all of the elements of the offense

existed:
                                          13
      Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 14 of 33




       (1) that the narcotics investigation targeting Febles was an official
       proceeding; (2) that Townsend warned Febles of the searches, thereby
       obstructing or impeding that investigation; (3) that Townsend acted
       corruptly in light of the timing of her phone calls to Febles and the
       apparently fabricated reason she gave for Febles’ absence --
       that he was at a nonexistent driver’s license bureau; and (4) that the
       natural and probable effect of her warning to Febles was interference
       with the due administration of justice.

Id.

       The Government contends that by upholding the defendant’s conviction in

Townsend, the court must have determined that the DEA investigation was an

“official proceeding” for purposes of § 1512(c)(2), and that Townsend “is

controlling on this Court.” (Doc. 33 at 8-9). The undersigned disagrees. The

court in Townsend did not squarely address the issue of whether a federal

investigation, such as the FBI investigation in this case, is an “official proceeding”

under § 1512(c)(2). Instead, the court found that, given the unobjected-to jury

instructions, the evidence was sufficient for the jury to convict the defendant. The

court specifically noted that the defendant did not object to the jury charge defining

an official proceeding as “a criminal investigation of federal offenses,” or

challenge those instructions on appeal. Townsend, 630 F.3d at 1014-15 and n.8.

       The Government argues that a “jurisdictional defect such as the failure of the

indictment to state a federal crime . . . may be recognized sua sponte by either the

district court or the appellate court,” and therefore, “[i]f the Eleventh Circuit

concluded that a DEA investigation was not an ‘official proceeding’ under Section
                                         14
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 15 of 33




1512(c)(2), then the Court sua sponte would have concluded that the defendant

was not charged with a crime, and neither the district court nor the appellate court

had jurisdiction.” (Doc. 33 at 7-8). Accepting that argument invites, and requires,

significant speculation. The Townsend decision contains no indication that the

court considered whether a federal criminal investigation meets the statutory

definition of an “official proceeding.” Given the defendant’s failure to object to

the definition or to raise the issue on appeal, the court’s silence on the issue is

understandable. The undersigned finds that the Government reads too much into

the Townsend decision, and while arguably persuasive, it does not control the

outcome of this case. Further, given its lack of analysis on the issue of whether a

federal investigation is an “official proceeding,” the undersigned questions the

Townsend decision’s utility in answering this question. Moreover, other authority

from this circuit supports a conclusion that a federal law enforcement investigation

is not an “official proceeding” under § 1512.

      In United States v. Ronda, 455 F.3d 1273 (11th Cir. 2006), the court

considered another provision of 18 U.S.C. § 1512—§1512(b)(3)—which does not

require obstruction of an “official proceeding.” The court rejected the defendants’

attempt to graft the “official proceeding” requirement onto § 1512(b)(3), noting

that “[u]nlike § 1512(b)(2), § 1512(b)(3) makes no mention of ‘an official

proceeding’ and does not require that a defendant’s misleading conduct relate in


                                        15
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 16 of 33




any way either to an ‘official proceeding’ or even to a particular ongoing

investigation.” Id. at 1288 (emphases added). The court further observed that in

its decision in Veal, it “correctly emphasized that § 1512(b)(3) does not require

that a federal investigation be initiated nor that an official proceeding be

ongoing.”   Id. (emphases added).      These selections suggest that the Eleventh

Circuit distinguishes federal investigations from “official proceedings” for

purposes of § 1512.

      Another district court case in this circuit has been more direct in holding that

federal investigations are not “official proceedings” under § 1512. In United States

v. Dunn, 434 F. Supp. 2d 1203 (M.D. Ala. 2006), the court observed that, to

resolve the defendant’s objection to a recommended sentencing enhancement

based on his alleged obstruction of justice in violation of § 1512(c), the court was

required to “consider a matter of first impression in the Eleventh Circuit Court of

Appeals regarding when a defendant has obstructed justice under 18 U.S.C. §

1512(c).” Id. at 1205. Specifically, the court considered whether defendant’s

alleged obstruction of an ATF investigation was an obstruction of an “official

proceeding” as required by that statute; the court found that it was not. Id. at 1209.

The court explained:

      The definition of “official proceeding” in § 1515(a)(1) does not
      expressly include criminal investigations.         Nonetheless, the
      government suggests that the ATF investigation, standing alone, is an
      “official proceeding” because it is a “proceeding before a Federal
                                         16
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 17 of 33




      Government agency,” 18 U.S.C. § 1515(a)(1)(C). This court has not
      identified a single case that supports this contention.         More
      importantly, it is clear that “a proceeding before a Federal
      Government agency which is authorized by law,” 18 U.S.C. §
      1515(a)(1)(C), refers to hearings, or something procedurally similar,
      held before federal agencies. Not only does the common and ordinary
      understanding of “proceeding” connote a hearing, see Black’s Law
      Dictionary 1221 (7th Ed. 1999) (defining “proceeding” as a hearing or
      any procedural means of seeking redress from a tribunal or agency),
      but the term “proceeding” is used throughout § 1515(a)(1) to describe
      events that are best thought of as hearings (or something akin to
      hearings): for example, federal court cases, grand jury testimony,
      Congressional testimony, and insurance regulatory hearings, 18
      U.S.C. § 1515(a)(1)(A), (B), & (D).

Id. at 1207 (footnote omitted). The court rejected the government’s argument “that

Congress intended the broadest possible construction of ‘official proceeding,’ one

broad enough to include an investigation within its meaning,” reasoning that,

“[a]lthough Congress wrote the obstruction statute to cover conduct that precedes

the institution of an ‘official proceeding,’ this does not change the fact that

Congress defined ‘official proceeding’ using terms that are inconsistent with an

investigation.” Id. at 1208. The court aptly observed, “Had Congress intended for

an investigation, standing alone, to be an ‘official proceeding,’ it could easily have

included ‘investigations into violations of the federal criminal statutes’ among the

definitions in § 1515(a)(1).” Id. Consistent with that last point, the undersigned

notes that Congress has prohibited obstruction of investigations in other statutes.

See, e.g., 18 U.S.C. § 1510 (“Obstruction of criminal investigations”); 18 U.S.C. §

1518 (“Obstruction of criminal investigations of health care offenses”); 18 U.S.C.
                                         17
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 18 of 33




§ 1519 (“Destruction, alteration, or falsification of records in Federal

investigations and bankruptcy”). The fact that Congress did not include federal

criminal investigations in its definition of “official proceedings” in § 1515 supports

a finding that an FBI investigation is not an “official proceeding” for purposes of §

1512.

        Other district courts in the circuit have reached the same conclusion as

Dunn. In United States v. Peterson, 544 F. Supp. 2d 1363 (M.D. Ga. 2008), the

court also granted a defendant’s motion to dismiss the § 1512(c)(2) count, which

was apparently based on the alleged obstruction of a “federal investigation.” The

court found that a federal investigation is not an “official proceeding” as defined

by § 1515(a)(1), and the indictment failed to otherwise specify an “official

proceeding.” Id. at 1376-77. In finding that a federal investigation is not an

official proceeding, the court cited the Dunn case and “agree[d] with the court’s

reasoning in Dunn,” i.e., “that the investigation was not an official proceeding

because the common and ordinary understanding of the word ‘proceeding’

connotes a hearing.”    Id. at 1376.    The government then filed a superseding

indictment against Peterson alleging that he had obstructed an official proceeding

in violation of 18 U.S.C. § 1512(c)(2) by obstructing a wiretap investigation. See

United States v. Peterson, 627 F. Supp. 2d 1359 (M.D. Ga. 2008). The court again

wrote, “[a] federal law enforcement agency investigation is not an official


                                         18
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 19 of 33




proceeding” as defined by § 1515(a)(1). Id. at 1369 (citing Dunn and United

States v. Ramos, 537 F.3d 439 (5th Cir. 2008)). The court then found that a

wiretap investigation was not an “official proceeding” under 18 U.S.C. §

1512(c)(2) and granted the defendant’s motion to dismiss that count of the

indictment. Id. at 1370, 1374.

      Case law from other circuits is mixed on this question. See United States v.

Perez, 575 F.3d 164, 168 (2d Cir. 2009) (noting conflict of authority on whether

federal agency investigations constitute “official proceedings” as defined in §

1515).7   The Government cites to two out-of-circuit cases, United States v.

Gonzalez, 922 F.2d 1044 (2nd Cir. 1991) and United States v. Kelley, 36 F.3d 1118

(D.C. Cir. 1994) to support its contention that an FBI investigation is an “official

proceeding” under § 1512. (Doc. 33 at 12).8 In Gonzalez, the court considered the


7
  In Perez, the court found that “[w]hether or not agency investigations in general
can satisfy the ‘official proceeding’ element of subsection 1512(c)(1), . . . the
particular procedures required by the [Bureau of Prison’s] Use of Force Program
Statement suffice to support a conviction under that subsection,” noting that the
Statement “contemplates more than a preliminary investigation; it sets forth a
detailed process of review and decision-making” by a “review panel of senior
officials.” 575 F.3d at 169.
8
  The Government also cites United States v. Ahrensfield, 698 F.3d 1310 (10th Cir.
2012) for the proposition that by rejecting the defendant’s sufficiency of the
evidence claim, the court “impliedly [found] that an FBI investigation is an
‘official proceeding’ under Section 1512(c)(2).” (Doc. 33 at 9). The undersigned
disagrees. In Ahrensfield, the defendant disclosed the existence of an undercover
FBI investigation to one of the targets of the investigation, and was charged with,
among other things, obstruction in violation of § 1512(c)(2). 698 F.3d at 1313,
1316. Contrary to the Government’s assertion that the charge was based on the
                                        19
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 20 of 33




venue provision for 18 U.S.C. § 1512(h) (now 18 U.S.C. § 1512(i)), which

authorizes venue “in the district in which the official proceeding . . . was intended

to be affected or in the district in which the conduct constituting the alleged

offense occurred.”    The court found that venue was proper where the DEA

investigation occurred, thus indicating that the court found that a DEA

investigation is an “official proceeding,” at least for determining venue. See 922

F.2d at 1056. Aside from the fact that the court’s holding in Gonzalez related to

venue, and not the definition of “official proceeding” for purposes of the

substantive provisions of § 1512, subsequent Second Circuit authority calls the

Government’s reliance on Gonzalez into question. In United States v. Gabriel, 125

F.3d 89 (2d Cir. 1997), the court wrote:

      We note that although not argued by Gabriel, the jury also reasonably
      could have concluded that Gabriel’s sole intent was to interfere with
      the FBI investigation, and if the jury had so concluded, it would have
      been compelled to find Gabriel innocent. See 18 U.S.C. § 1512(b)(1)
      (prohibiting only interference with “official proceedings”); id. §
      1515(a)(1) (defining “official proceeding” and not including
      government investigations). However, the jury reasonably could have
      concluded that Gabriel was more concerned about the grand jury


defendant’s obstruction of the investigation, the court explained that “[t]he
obstruction of justice charge was based on Defendant’s obstruction or attempted
obstruction of the anticipated federal grand jury proceedings that would have been
used in connection with the undercover investigation.” Id. at 1316 (emphasis
added). Thus, the “official proceedings” that defendant obstructed were the grand
jury proceedings, which is a category of proceedings listed in the definition of
“official proceedings,” see 18 U.S.C. § 1515(a)(1)(A), not the undercover
investigation itself.
                                           20
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 21 of 33




      investigation, and that therefore, Gabriel acted, at least in part, to
      interfere with that investigation.

Id. at 105 n.13.

      In Kelley, the other out-of-circuit case relied on heavily by the Government,

the court found that an investigation conducted by the Office of Inspector General

(“OIG”) for the United States Agency for International Development (“AID”) was

a “proceeding” under both 18 U.S.C. § 1505 and 18 U.S.C. § 1512. 36 F.3d at

1127-28. In finding the OIG investigation to be a “proceeding” under § 1505, the

court noted that investigations held to be “proceedings” under § 1505 “typically

have involved agencies with some adjudicative power, or with the power to

enhance their investigations through the issuance of subpoenas or warrants.” Id. at

1127. Because the OIG “is empowered to issue subpoenas and to compel sworn

testimony in conjunction with an investigation of agency activities,” the court

found that it was a “proceeding” within the meaning of § 1505. Id. The court also

assumed that the OIG investigation was a “proceeding” for purposes of § 1512 and

upheld the defendant’s conviction on that count. Id. at 1128. The court wrote:

      We need not decide whether “proceeding” has the same meaning in
      both § 1505 and § 1512, since the parties agree that a parallel should
      be drawn between the two sections. For the purposes of this
      discussion, therefore, we assume that the AID Inspector General’s
      investigation was a proceeding under § 1512 as well as § 1505.

Id. Therefore, it appears that the court did not actually find that the investigation

was an “official proceeding” for purposes of § 1512, but rather simply assumed it
                                         21
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 22 of 33




was by virtue of the parties’ representations. Furthermore, to the extent that it did

make that finding, the basis for that finding is unclear. It appears that the court

adopted its rationale for finding the investigation to be a “proceeding” under §

1505, in which case, the decision does not support the Government’s claim that an

FBI investigation is an “official proceeding” because as the court in Kelley wrote,

“For an investigation to be considered a proceeding, . . . it must be more than a

mere police investigation.” 36 F.3d at 1127.

      A few district courts have also found that federal investigations are “official

proceedings” under § 1512, however because they generally rely on Gonzalez and

Kelley, the undersigned does not find them persuasive. See, e.g., United States v.

Plaskett, No. 2007-60, 2008 U.S. Dist. LEXIS 62944, at *12 n.2 (D. V.I. Aug. 13,

2008) (citing Gonzalez and Kelley and rejecting the defendant’s argument that a

“federal agency investigation does not constitute an official proceeding under

Section 1512(c)(2)”); United States v. Hutcherson, No. 6:05CR00039, 2006 U.S.

Dist. LEXIS 48708, at *6-7 (W.D. Va. July 5, 2006) (citing Gonzalez and Kelley

and finding that “[g]overnment agency actions, such as the FBI investigation of the

defendant, are ‘official proceedings” under Section 1512, whether or not a grand

jury has been convened because Congress intended to deter obstruction of more

than judicial proceedings with Section 1512”); see also United States v. Holland,

No. 1:08CR00054, 2009 U.S. Dist. LEXIS 45253, at *10 n.2 (W.D. Va. May 29,


                                         22
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 23 of 33




2009) (“Obstruction of an official proceeding under 18 U.S.C.A. § 1512(c)

includes obstruction of an agency investigation” (citing Hutcherson)).

      The weight of contrary out-of-circuit authority, however, provides

persuasive support for concluding that an FBI investigation is not an “official

proceeding” for purposes of 18 U.S.C. § 1512(c)(2). Most recently, in United

States v. Ermoian, Nos. 11-10124, 11-10388, 2013 U.S. App. LEXIS 16836 (9th

Cir. Aug. 14, 2013)9, the Ninth Circuit held that an FBI investigation is not an

“official proceeding” for purposes of 18 U.S.C. § 1512. The court found that “the

9
  The court amended its decision on August 28, 2013 in order to “add ‘and
resentence Johnson’ after the word ‘charges’ and before the period.” See United
States v. Ermoian, 2013 U.S. App. LEXIS 17949, at *2 (9th Cir. Aug. 28, 2013).
However, in both the LEXIS and Westlaw versions of that amended decision, a
significant portion of the text from the original version of the decision has been
inexplicably omitted. (Compare Ermoian, 2013 U.S. App. LEXIS 16836, at *16-
17 and n.5 with Ermoian, 2013 U.S. App. LEXIS 17949, at *16-17 and n.5). That
omission has resulted in, as the Government correctly characterizes it, a
“nonsensical quote” in the amended decision:

      In short, a criminal investigation does not occur
      [significant blank space]
      parties. Kelley, 36 at 1128. This assumption carries no weight.

(See Doc. 40 at 5 n.2; Ermoian, 2013 U.S. App. LEXIS 17949, at *16). In the
original decision, however, the court wrote, “In short, a criminal investigation does
not occur ‘before a Federal Government agency’ like a hearing or a trial might; it is
conducted ‘by’ the agency in the field.” 2013 U.S. App. LEXIS 16836, at *16.
Then later in distinguishing the Kelley decision, the court noted that the Kelley
court assumed that the AID Inspector General’s investigation was a proceeding
under § 1512, and wrote, “This assumption carries no persuasive weight.” Id. at
*16-17 n. 5. It is obvious that the amended decision mistakenly omitted the text
between the words “occur” and “parties,” and to avoid confusion, the undersigned
refers to the Ninth Circuit’s original decision.
                                         23
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 24 of 33




broader statutory context makes entirely plain: an ‘official proceeding’ does not

include a criminal investigation.” Id. at *15. The court explained:

      Examining the term ‘proceeding’ within the grammatical structure of
      the definition at issue, it becomes clear that the term connotes some
      type of formal hearing. That statute refers to proceedings ‘before a
      Federal Government agency’—a choice of phrase that would be odd if
      it were referring to criminal investigations. Id. The use of the
      preposition ‘before’ suggests an appearance in front of the agency
      sitting as a tribunal . . . . In short, a criminal investigation does not
      occur ‘before a Federal Government agency’ like a hearing or trial
      might; it is conducted ‘by’ the agency in the field.

Id. at *15-16. The court distinguished Kelley and Gonzalez, two of the cases the

Government relies on in this case, and found their reasoning to be unpersuasive.

Id. at *16-17 n.5. Instead, the court found the Fifth Circuit’s decision in United

States v. Ramos, 537 F.3d 439 (5th Cir. 2008) “to be far more persuasive and

relevant for our purposes.” Id. at *18. The undersigned agrees.

      In Ramos, the Fifth Circuit held that the Border Patrol’s internal

investigation of employee misconduct was not an “official proceeding” within the

meaning of § 1512 and therefore vacated the defendant’s convictions for

obstruction under 18 U.S.C. § 1512(c)(1) and (2). 537 F.3d at 460-64. The court

rejected the Government’s reliance on Gonzalez and Kelley, for the same reasons

the undersigned finds them to be inapposite.        Id. at 463 n.17.10     The court


10
   The court noted, as did the undersigned, that the decision in Kelley “is actually
supportive of our holding” in that the court in Kelley found the investigation in that
case to be “more than a mere police investigation.” 537 F.3d at 463 n.17.
                                         24
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 25 of 33




acknowledged that the word “proceeding” “broadly defined and standing alone,

encompasses meanings that could support its construal as either an investigation or

as a hearing.” Id. at 462 (citing Black’s Law Dictionary 1241 (8th ed. 2004)). The

court found, however, that the definition’s use of the preposition “ ‘before’ in

connection with the term ‘Federal Government agency,’ . . . implies that an

‘official proceeding’ involves some formal convocation of the agency in which

parties are directed to appear, instead of any informal investigation conducted by

any member of the agency.” Id. at 462-63. The court also observed that “ ‘official

proceeding’ is consistently used throughout § 1512 in a manner that contemplates a

formal environment in which persons are called to appear or produce documents.”

Id. at 463 (citing §§ 1512(a)(1)(A) & (a)(2)(A)). “Thus,” the court found, “in all

the instances in which the term ‘official proceeding’ is actually used in § 1512, its

sense is that of a hearing rather than simply an investigatory step taken by an

agency.” Id.

      The Fifth and Ninth Circuits’ discussions and holdings are consistent with

several other out-of-circuit cases. For example, in United States v. Simpson, No.

3:09-CR-249-D(06), 2011 U.S. Dist. LEXIS 76881 (N.D. Tex. July 15, 2011), the

court granted the defendant’s motion to dismiss a count based on 18 U.S.C. §

1512(c)(1) for defendant’s alleged obstruction of an FBI investigation, finding that

an FBI investigation is not an “official proceeding” under that statute. Id. at *99.


                                         25
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 26 of 33




The court rejected the government’s reliance on United States v. Hutcherson, cited

above, because the court in Hutcherson relied on Kelley and Gonzalez, cases which

the court in Ramos found inapposite, id. at *89, as does the undersigned. See also

United States v. Phillips, 583 F.3d 1261, 1263 (10th Cir. 2009) (noting that the

district court had “determined that a DEA investigation is not an official

proceeding under” § 1512(c)(2)”); United States v. Binette, 828 F. Supp. 2d 402,

403-05 (D. Mass. 2011) (finding Ramos case persuasive, noting that the cases the

government cited, including Kelley, “involve[d] the pre-Enron language of an

earlier version of Section 1512” and involved investigations with “far more indicia

of formality,” and granting defendant’s motion to dismiss 18 U.S.C. § 1512(c)(2)

count because a preliminary SEC investigation is not an “official proceeding”

under that statute); United States v. Tam Ho, No. 08-00337 JMS, 2009 U.S. Dist.

LEXIS 73763, at *17-18 (D. Haw. Aug. 20, 2009) (noting that “the cases cited by

Defendant support the unextraordinary proposition that to violate § 1512(b)(1), the

defendant must have foreseen an official proceeding and not a mere investigation”

(citing Ramos, Gabriel, and Dunn)).

      Moreover, the reasoning and holdings in these cases are consistent with this

circuit’s district court cases that have squarely decided this issue, i.e., Dunn and

Peterson discussed above, as well as the undersigned’s reading of 18 U.S.C. §

1512 and the definition of “official proceeding” provided in 18 U.S.C. § 1515.


                                        26
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 27 of 33




Accordingly, the undersigned finds that an FBI investigation is not an “official

proceeding” for purposes of 18 U.S.C. § 1512(c)(2), and therefore it is

RECOMMENDED that Defendants’ motions to dismiss Count Two of the

Indictment be GRANTED, and that Count Two be DISMISSED. Furthermore, it

is RECOMMENDED that Defendants’ motion to dismiss Count One be

GRANTED in part with respect to the first object of the conspiracy, i.e., to

violate 18 U.S.C. § 1512(c)(2) by obstructing, influencing, and impeding an FBI

investigation.

              2.     Is A Grand Jury Investigation An “Official Proceeding”
                     Under 18 U.S.C. § 1512?

      Defendants contend that Counts One and Three, to the extent those counts

rely on the alleged obstruction of a grand jury investigation, should also be

dismissed because the grand jury investigation “rests upon an ‘FBI investigation,’

” which, as discussed above, is not an “official proceeding” under 18 U.S.C. §

1512(c)(2).      (See Doc. 18 at 9; see also Doc. 36 at 8-9).    The undersigned

disagrees. 18 U.S.C. § 1515(a)(1)(A) clearly defines an “official proceeding” as “a

proceeding before . . . a Federal grand jury”; see also United States v. Mintmire,

507 F.3d 1273, 1290 (11th Cir. 2007) (“[We have no hesitation in concluding that

the jury was presented with ample evidence from which it could find that Mintmire

violated § 1512(c)(2) by attempting to obstruct a grand jury investigation.”);



                                        27
     Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 28 of 33




United States v. Misla-Aldarondo, 478 F.3d 52, 69 n.14 (1st Cir. 2007) (“An

‘official proceeding’ includes federal trials and federal grand jury investigations”).

      Furthermore, courts have repeatedly upheld convictions for obstruction of

grand jury investigations, even where the conduct arguably also obstructed a

federal law enforcement investigation. See, e.g., United States v. Mann, 685 F.3d

714, 722 (8th Cir. 2012) (affirming conviction under § 1512(c)(2) for obstruction

of grand jury investigation by removing items from office in anticipation of an

ATF search); Phillips, 583 F.3d at 1262-65 (affirming conviction under §

1512(c)(2) for obstruction of grand jury investigation by revealing the identity of

an undercover officer to the subject of DEA and grand jury investigations)11;

Gabriel, 125 F.3d at 105 and n.13 (finding that jury could have reasonably found

that the defendant’s actions interfered with a grand jury investigation in violation

of § 1512(b)(1), regardless of whether his actions were intended to interfere with

an FBI investigation, which would not support a conviction because an FBI

investigation is not an “official proceeding” under § 1512); Simpson, 2011 U.S.

Dist. LEXIS 76881, at *98-99 (noting that “[t]he fruits of the FBI investigation

may have led to an official proceeding like the grand jury investigation or the

instant criminal case,” and emphasizing that the court “does not hold that


11
   As noted above, the court in Phillips observed that the district court had
determined that the underlying DEA investigation was not an “official proceeding”
under § 1512(c)(2). 583 F.3d at 1263.
                                          28
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 29 of 33




interference with an FBI investigation can never be charged as part of a properly

charged offense” so long as the FBI investigation itself is not charged as the

official proceeding).

      The procedural history in the Peterson case also undermines Defendants’

position. In Peterson I, 544 F. Supp. 2d at 1376, and Peterson II, 627 F. Supp. 2d

at 1369, the court observed that while the defendant’s alleged obstruction of an

ATF investigation, i.e., the defendant’s identification of a confidential informant,

“could have obstructed an official proceeding,” the indictment failed to identify

that proceeding, and the superseding indictment improperly named the ATF

investigation as the official proceeding. The government later filed a second

superseding indictment against Peterson in which it identified the relevant “official

proceeding” as “grand jury proceedings,” and the court denied the defendant’s

motion to dismiss the § 1512(c)(2) count, finding that the indictment set forth

sufficient factual detail to charge a violation of § 1512. See United States v.

Peterson, No. 7:07-CR-34-HL, 2008 U.S. Dist. LEXIS 80955 (M.D. Ga. Sept. 5,

2008).

      Therefore, while the obstruction of the federal criminal investigation

standing alone does not satisfy § 1512(c)(2)’s requirement that a defendant

obstruct an “official proceeding,” the same alleged obstruction may support a

charge under that section for obstructing a grand jury investigation. Accordingly,


                                         29
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 30 of 33




to the extent that Defendants’ motions to dismiss rest on their contention that the

indictment does not allege the obstruction of an official proceeding through the

alleged obstruction of a federal grand jury investigation, their motions fail.

      C.     Does The Indictment Otherwise Sufficiently Allege A Crime?

      Defendants McDaniel and Brown also contend that the indictment should be

dismissed because it is vague and fails to sufficiently allege the conduct they

engaged in which supports charges based on 18 U.S.C. § 1512(c)(2). (See Docs.

20, 28).   The chief complaints are that the indictment fails to describe with

particularity the official proceedings that Defendants allegedly obstructed, how the

obstruction occurred, and fails to allege that they had knowledge of the

proceedings and intended to obstruct them, or that there is a nexus between their

acts and the obstruction of a particular proceeding. (See id.).

      “When analyzing such challenges, [the court] give[s] the indictment a

common sense construction, and its validity is to be determined by practical, not

technical, considerations.” United States v. McGarity, 669 F.3d 1218, 1235 (11th

Cir. 2012) (quotation omitted). “Such a common sense construction is satisfied

through consideration of three factors:

      whether the indictment 1) presents the essential elements of the
      charged offense, 2) notifies the accused of the charges to be defended
      against, and 3) enables the accused to rely upon a judgment under the
      indictment as a bar against double jeopardy for any subsequent
      prosecution for the same offense.


                                          30
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 31 of 33




Id. (quotation omitted). “Even when an indictment tracks the language of the

statute, it must be accompanied with such a statement of the facts and

circumstances as will inform the accused of the specific offense, coming under the

general description, with which he is charged.” Id. (quotation omitted).

      Defendants’ arguments at this stage prematurely “conflate[] pleading with

proof.” United States v. Ring, 628 F. Supp. 2d 195, 223 (D. D.C. 2009) (quotation

omitted).   “Essentially, Defendant[s are] challenging the sufficiency of the

evidence, arguing that [the Government] lacks adequate evidence to establish a

violation of the statute.” United States v. Chambers, No. CR-06-151-C, 2006 U.S.

Dist. LEXIS 72173, at *2 (W.D. Okla. Oct. 2, 2006). The undersigned finds that

the Indictment sets forth the essential elements of the charged offenses and

provides sufficient factual support to withstand Defendants’ motions to dismiss.

      The Indictment tracks the language of § 1512(c)(2) and identifies the

“official proceedings” Defendants allegedly obstructed, i.e., including “a federal

grand jury investigation into criminal offenses investigated by the FBI, said FBI

investigation involving D.B.S. acting as an undercover informant and Michael

Griffin, a/k/a “Griff,” a law enforcement officer, acting in an undercover capacity.”

Further, the Indictment alleges that Defendants “did knowingly and intentionally”

conspire to violate 18 U.S.C. § 1512(c)(2) (Count One), and alleges that they

“corruptedly [sic] obstruct[ed], influence[d], and impede[d]” and “did attempt to


                                         31
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 32 of 33




corruptedly [sic] obstruct, influence, and impede, an official proceeding,” which

proceedings are then described.        (See Counts Two, Three).         Moreover, the

Indictment describes the conduct that allegedly violated the statute, i.e., upon

learning that a federal agent had infiltrated Defendants’ motorcycle club,

Defendants shut down the club and collected paraphernalia related to the club.

Thus, the Indictment adequately presents the essential elements of the alleged

offenses and sufficiently places Defendants on notice of the charges against them.

Whether the Government can prove these allegations or prove that Defendants

committed these acts with the requisite intent are issues for the jury at trial.

      Accordingly, it is RECOMMENDED that Defendants’ motions to dismiss

be DENIED as to Count Three and Count One, to the extent that Count One

alleges as an object of the charged conspiracy Defendants’ obstruction of a federal

grand jury investigation in violation of 18 U.S.C. 1512(c)(2).




                                         Conclusion

      Defendant King’s motion for reconsideration (Doc. 31) is DENIED. It is

RECOMMENDED that Defendants’ motions to dismiss Count Two be

GRANTED and that their motions to dismiss Count One be GRANTED IN

PART, i.e., to the extent that Count One alleges as an object of the charged


                                           32
    Case 2:13-cr-00015-RWS-JCF Document 44 Filed 10/02/13 Page 33 of 33




conspiracy Defendants’ obstruction of an FBI investigation in violation of 18

U.S.C. 1512(c)(2). It is further RECOMMENDED that Defendants’ motions to

dismiss Count Three be DENIED, and their motions to dismiss Count One be

DENIED IN PART, i.e., to the extent that Count One alleges as an object of the

charged conspiracy Defendants’ obstruction of a federal grand jury investigation in

violation of 18 U.S.C. 1512(c)(2).

      It is further ORDERED that subject to a ruling by the District Judge on any

objections to orders or recommendations of the undersigned Magistrate Judge, this

case is certified ready for trial.

      IT IS SO ORDERED, REPORTED AND RECOMMENDED this 1st

day of October, 2013.

                                              /s/ J. CLAY FULLER
                                             J. CLAY FULLER
                                             United States Magistrate Judge




                                        33
